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EXHIBIT 8

 

FinCEN
Form 101

Effective May 2004

 

Suspicious Activity Report by the
Securities and Futures Industries

Please type or print. Always complete entire report. Items
marked with an asterisk * are considered critical. (See instructions.)

 

 

OMB No. 1506 - 0019

 

1 Check the box if this report corrects a prior report (See instructions) CI

 

Subject Information

2 Checkbox a [_] if multiple subjects

box b [_] subject information unavailable

 

*3 Individual's last name or entity's full name

*4 First

name 5 Middle initia!

 

 

6 Also known as (AKA - individual), doing business as (DBA - entity)

 

7 Occupation or type of business

 

 

 

 

 

 

 

 

 

 

*8 Address *9 City
*10 State “11 ZIP cade *12 Country code (If not U.S.) 13 E-mail address (If available)
' ee (See instructions)
‘ ee ee ee ee ee ee |
*14 SSNIITIN (individual), or EIN (entity) *15 Account number(s) affected, if any. Indicate if closed. 16 Date of birth
Poroaototo to et Acc't # yesL] Acc't # yes oO J ]
' ' i) 1 I 1 ' I ~~,
tororopror bop t Acc't # yes] Acc’t # yesC]| MM DD

 

 

'17 Government issued identification (If available)
a ((] Driver's license/state ID

e [_] Other
I ' ' l ' ' I

b (_] Passport

 

a

¢ [_] Alien registration

d [_] Corporate/Partnership Resolution

g Issuing state or country (2 digit code) _ |

 

18 Phone number - work
( I I )! ( ' 1 ’ ' 1 '
ne ee

 

19 Phone number - home

Cit heiis

20 Is individual/business associated/affiliated
with the reporting institution? (See instructions)

a LC Yes b {_] No

 

 

Suspicious Activity information

 

*21 Date or date range of suspicious activity

From f / To

 

 

 

 

*22 Total dollar amount involved in suspicious activity

1.00

 

 

 

 

 

 

 

$ 1 I ' 1 t ' I 1 '
MM 00 YYYY MM _OD yyy ro Ett

23 Instrument type (Check all that apply)

a [[]_Bonds/Notes i [] Commodity options aq [_] Commodity type

b (]_ Cash or equiv. ji [CJ Security futures products {Please identify)

c [_] Commercial paper k [_] Stocks r [_] _ Instrument description

d [J Commodity futures contract | [_] Warrants

e CJ Money Market Mutual Fund m oO Other securities s | Market where traded | | |

f CJ Mutual Fund n O Other non-securities (Enter approprite three or four-letter cade.)

Q CJ OTC Derivatives o C Foreign currency futures/options t O Other (Explain in Part IV)

h oO Other derivatives p O Foreign currencies

24 CUSIP: number 25 CUSIP* number 26 CUSIP* number
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27 CUSIP* number 28 CUSIP* number 29 CUSIP* number
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J J 1 i ' J 1 ' 1 1 1 1 yu I 4 1 ' t t ' 1 1 t 1 aya 1 i 1 t \ ‘ 1 UJ I 1 t J
*30 Type of suspicious activity:

a O Bribery/gratuity h L_] Identity theft o [_| Significant wire or other transactions

b CJ Check fraud i L] Insider trading without economic purpose

c [_] Computer intrusion j (1s mail fraud p [_] Suspicious documents or ID presented

d (J Credit/debit card fraud k LJ Market manipulation q [|] Terrorist financing

e (J eEmbezztementitheft 1O Money laundering/Structuring r [_] Wash or other fictitious trading

f [_] Commodity futures/options fraud ™m (1 Prearranged or other non-competitive trading $ {_] Wire fraud

a LL] Forgery n L] Securities fraud t [7] Other (Describe in Part VI)

 

Catalog No. 35349U

Rev. 05/22/04

 
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Law Enforcement or Regulatory Contact Information

31 If a law enforcement or regulatory authority has been contacted (excluding submission of a SAR) check the appropriate box.

a[_] DEA f[_] Secret Service & [_] NYSE

b [_] U.S. Attomey (32) g ["] CFTC | [_] Other RFA

c _JIRS h[_] sec

d[_] Fel i{_] wasp n[_] Other state/local
e [_] ICE j[_] NFA

m {_] Other RE-futures (CME, CBOT, NYMEX, NYBOT)

p C] State securities regulator
qa [_]| Foreign
r [_] Other (Explain in Part VI)

° | Other SRO-securites (PHLX, PCX, CBOE, AMEX, etc.)

 

32 Other authority contacted (for Item 31 I through r) ** List U.S. Attorney office here.

 

33 Name of individual contacted (for all of Item 31)

 

34 Telephone number of individual contacted (Item 33)

35 Date contacted

 

 

 

 

 

 

 

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i ‘ 1 ' ' \ ' 1 i ' I MM DO YYYY
ery Reporting Financial Institution Information
*36 Name of financial institution or sole proprietorship *37 EIN! SSN/ WIN yy
ee
*38 Addres
“39 City *40 State *41 ZIP code

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42. Additional branch address locations handling account, activity or customer.

43 [—] Multipte tocations (See instructions)

 

44 City

45 State 46 ZIP code
robot
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47 Central Registration Depository number

48 SEC ID number

 

' ‘
g8i—t ' t ' '
1 ' 1 ' ' '

' ' '
'o' Oo!
' 1 '

49 NFA !D number

 

 

50 Has this reporting individuaVentity coordinated this report with another reporting individualentity? Yes CI (Provide details in Part VI)

 

51 Type of institution or individual- Check box(es) for functions that apply to this report

 

a{_] Agricultural trade option merchant j ((] IA s (] Securities dealer

b ] Affiliate of bank holding company k C1 investment company - mutual fund t C1 Securities floor broker

c[_] cro | () Market maker u (LC) Securities options broker-dealer

dL] cTA m (1) Muricipal securities dealer v (CJ SR0-securities

e (_] Direct participation program n CJ NFA w (] Specialist

*( Fem o LC] ReE-futures x {_] Subsidiary of bank

g [_] Futures ficor broker p () Other RFA y LJ U.S. Government broker-dealer

h{_] Futures floor trader q ((] Securities broker - clearing z [_] U.S. Government interdealer broker

i ([] (8-c t [CJ Securities broker - introducing aa [_] Other (Describe in Part Vi)
Contact For Assistance

 

*52 Last name of individual to be contacted regarding this report

*53 First name

 

*54 Middle initial

 

 

*55 Title/Position

*56 Work phone number

Ci iis

 

*57 Date report prepared

t I
DD

 

 

MM YYYY

 

 

 

Send completed reports to:

Detroit Computing Center
Attn: SAR-SF

P.O. Box 33980

Detroit, MI 48232

 

 
 

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lad Suspicious Activity Information - Narrative *
Explanation/description of suspicious activity(ies). This section of the report is critical.
not the described activity and its possible crimin e are cle nderstond by investigators. Provide a clear, complete and chronological

 

H of « act
description (not exceeding

 

     

a. Describe conduct that raised suspicion.
b. Explain whether the transaction(s) was completed or only attempted.
c. Describe supporting documentation (e.g. transaction records, new

account information, tape recordings, E-mail messages, correspon-
dence, etc.) and retain such documentation in your file for five years.

d. Explain who benefited, financially or otherwise, from the

transaction(s), how much, and how (if known).

e. Describe and retain any admission or explanation of the transaction(s)

provided by the subject(s) cr other persons. Indicate to whom and
when it was given.

f Describe and retain any evidence of cover-up or evidence of an

attempt to deceive federal or state examiners, SRO, or others.

g- Indicate where the possible violation of law(s) took place (e.g., main

office, branch, other).

h. Indicate whether the suspicious activity is an isolated incident or

relates to another transaction.
Indicate whether there is any related litigation. If so, specify the
name of the litigation and the court where the action is pending.

. Recommend any further investigation that might assist law

enforcement authorities.

. Indicate whether any information has been excluded from this report;

if so, state reasons.

. Indicate whether U.S. or foreign currency and/or U.S. or foreign

negotiable instrument(s) were involved. If foreign, provide the
amount, name of currency, and country of origin.

Information already provided in earlier parts of this form need not necessarily be repeated if the meaning is clear.

Supporting documentation should not be filed with this report, M@intsin the information for your files.

oO a Nd g d
this page and the next page) of the activity, i
the checklist below as a guide, as you prepare your account.

including what is unusual, irregular or suspicious about the transaction(s), using

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p. Indicate for a foreign national any available information on subject's

Vv.

. Describe any suspicious activities that involve transfer of funds to or

. Indicate whether securities, futures, or options were involved. If so,

. Indicate, in instances when the subject or entity has a CRD or NFA

Indicate “Market where traded” and “Wire transfer identifier”
information when appropriate.

Indicate whether funds or assets were recovered and, if so, enter the
dollar value of the recovery in whole dollars only.

Indicate any additional account number(s), and any foreign bank(s)
account number(s) which may be involved.

passport(s), visa(s), and/or identification card(s). Include date, country,
city of issue, issuing authority, and nationality.

from a foreign country, or transactions in a foreign currency. Identify
the country, sources and destinations of funds.
Describe subject(s) position if employed by the financial institution.

list the type, CUSIP* number or ISID® number, and amount.

Indicate the type of institution filing this report, if this is not clear
from Part IV. For example, an IA that is managing partner of a limited
partnership that is acting as a hedge fund that detects suspicious activity
tied in part to its hedge fund activities should note that it is operating as
a hedge fund.

number, what that number is.

in its entirety and note the corrected items here in Part wi

 

 

Tips on SAR form preparation and filing are available in the SAR Activity Review at www.fincen.gov/pub_reports.html
Enter explanation/description in the space below. Continue on the next page if necessary.

 

 

 

 
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Suspicious Activity Report Narrative (continued)

 

 
